Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 1 of 8



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

           Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

          DEFENDANT/COUNTER-PLAINTIFF'S REPLY TO PLAINTIFFS’/COUNTER-
        DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR REHEARING ON
        AND/OR RECONSIDERATION OF THE COURT'S FEBRUARY 12, 2020 ORDER
             DENYING ITS MOTION FOR JUDGMENT AS A MATTER OF LAW

           Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY ("Defendant"),

   by and through its undersigned counsel and pursuant to Local Rule 7.1(c) and the Federal

   Rules of Civil Procedure, hereby files its Reply to Plaintiffs’/Counter-Defendants’, AM

   GRAND COURT LAKES LLC and AM 280 SIERRA DRIVE LLC ("Plaintiffs") Response

   in Opposition [D.E. #229] to Motion for Rehearing and/or Reconsideration [D.E. #227] of

   this Court’s February 12, 2020 Order [D.E. #222] Denying Defendant’s Motion for

   Judgment as a Matter of Law [D.E. #186], stating as follows:

   I.      RELEVANT BACKGROUND

           1.    As the Court is aware, this is a first party insurance coverage dispute under

   a commercial insurance policy (the “Policy”) entered into between Defendant and

   Plaintiffs, AM GRAND COURT LAKES LLC and AM 280 SIERRA DRIVE LLC
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 2 of 8
                                                                  CASE NO. 1:18-cv-23576-KMW


   ("Plaintiffs"), as to the property located at 280 Sierra Drive, North Miami, Florida 33179,

   for the effective period of November 7, 2016 through November 7, 2017.

          2.      Plaintiffs claimed catastrophic losses in the instant case, based upon

   discredited and unqualified “expert” reports, seeking $16 million dollars for damages

   purportedly caused by Hurricane Irma. Conversely, Defendant asserted that damages to

   the Insured Property were less than the Policy's $330,250.00 deductible, after applicable

   Policy provisions and exclusions were applied.

          3.      The jury trial in this matter was completed on November 22, 2019, and the

   jury returned a verdict in favor of Plaintiffs in the amount of $9,280,000.00. After the jury

   was discharged, Defendant requested to argue its Motion for Judgment as a Matter of

   Law [D.E. #186] and renewed Motion (collectively, the “Motions for Judgment as a Matter

   of Law”). At that time, the Court advised the parties that it was still reserving ruling 1.

          4.      On November 25, 2019, the Court entered an Order [D.E. #198] allowing

   the parties until December 9, 2019 to file supplementation, if any, as to Defendant’s

   Motions for Judgment as a Matter of Law, and on December 9, 2019, Defendant filed a

   Supplementary Brief in Support of its Motions for Judgment as a Matter of Law (the

   “Supplementary Brief”) [D.E. #207].

          5.      On February 12, 2020, the Court entered its Order Denying Defendant’s

   Motions for Judgment as a Matter of Law (the “Order”) [D.E. #222]. The Order did not

   mention any of the arguments or cases advanced by Defendant in its Motions for

   Judgment as a Matter of Law or its Supplementary Brief and is silent as to whether or not

   the Court reviewed Defendant’s Supplementary Brief or took it into consideration.


   1
     Plaintiffs did not move for judgment as a matter of law at any time before the case was submitted
   to the jury.


                                                   2
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 3 of 8
                                                               CASE NO. 1:18-cv-23576-KMW


          6.     Consequently, on February 25, 2020, Defendant filed its Motion for

   Rehearing and/or Reconsideration (the “Motion for Reconsideration”) [D.E. #227] of this

   Court’s February 12, 2020 Order [D.E. #222] Denying its Motion for Judgment as a Matter

   of Law [D.E. #186] asking the Court to rehear and/or reconsider Defendant’s Motions for

   Judgment as a Matter of Law in order to prevent manifest injustice, because the entry of

   the Order denying same constituted a mistake arising from oversight or omission.

          7.     On March 10, 2020, Plaintiffs filed their Response in Opposition to the

   Motion for Reconsideration (the “Response”) [D.E. #229].

          8.     As more particularly set forth herein, Plaintiffs’ Response fails to raise any

   arguments which would preclude the relief requested by Defendant in its Motion for

   Reconsideration.

   II.    PLAINTIFFS’ MISCHARCTERIZATION OF THE EVIDENCE

          9.     Plaintiffs began their Response by mischaracterizing the evidence which

   purportedly came in through Plaintiffs’ witnesses. See [D.E. #229], p. 1-3. However, as

   pointed-out in the Motion for Reconsideration, over Defendant’s objection at trial,

   Plaintiffs’ witnesses, particularly Mr. Gonzalez, were erroneously permitted to testify well-

   outside the parameters specified in the Court’s Order on Defendant’s Motion to Strike

   [D.E. #126], wherein the Court ruled that Gonzalez was “precluded from offering

   causation testimony”. See [D.E. #126].

          10.    In fact, Plaintiffs failed to adduce evidence that the jury could properly use

   to either determine whether Defendant breached the Policy or calculate an amount of

   damages, if any.     The only record evidence that included any dollar figures is the

   following:




                                                3
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 4 of 8
                                                               CASE NO. 1:18-cv-23576-KMW


                 a)     Plaintiffs’ Ex. #13 (admitted) – Colby Chavers’ November 3, 2017

                 estimate for $1.1mm/$951k which he and Ms. Corbett testified the purpose

                 of it was to provide an overall exposure based on the public adjuster’s

                 representations that the roofs at the property would need to be replaced. It

                 in no way was an estimate for a total of covered hurricane-related damages.

                 b)     Limited Stipulated Ex. #8 – Edward Bittman’s of Five Star Claims

                 Adjusting March 27, 2018 estimate for $1,173,759.24 for the replacement

                 of all five roofs at the property. Plaintiffs’ Corporate Representative Mr.

                 Kirschner discounted this estimate and testified that he did not rely upon it

                 because decided to sell the property.

                 c)     Stip. Ex. #3, #12, and #13 – Mason Mitchell’s March 16, 2018

                 Report/Estimate and photographs wherein he utilized the course of repairs

                 set forth by Mr. Timothy Philmon to complete an estimate of Hurricane Irma-

                 related damages in the amount of $149,164.93.

                 d)     Stip. Ex. #3 - Julie Corbett’s May 25, 2018 correspondence to the

                 Plaintiffs providing the Donan and Tines Group’s reports which included a

                 total value of damages of $235,556.80 which fell below the deductible.

          11.    Beyond the four (4) Exhibits listed above there was not scintilla of evidence

   (via testimony or documentation) which placed a numeric value or could be interpreted

   as placing a valuation on an amount of damages being sought by Plaintiffs in this case.

   Not one witness testified on behalf of the Plaintiffs as to a valuation of covered damages

   Plaintiffs suffered as a result of Hurricane Irma. Plaintiffs did not actually prove that they

   suffered any damages or that Defendant breached the Policy.




                                                 4
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 5 of 8
                                                               CASE NO. 1:18-cv-23576-KMW


   III.   MISPLACED ARGUMENTS REGARDING THE PARTIES PROPOSED FINAL
          JUDGMENTS

          12.       Plaintiffs continued the Response by improperly advancing arguments

   concerning the competing final judgments submitted by the parties on February 25, 2020

   [D.E. #226 and #228, Ex. 2] - a topic which is outside the scope of the Motion for

   Reconsideration and not appropriate subject matter for Plaintiffs’ Response. See [D.E.

   #229], p. 3-4.

          13.       Assuming arguendo that a final judgment is warranted under the

   circumstances, such judgment should be in the amount of $9,280,000.00, minus the

   applicable Policy Deductible ($330,250.00), minus the Actual Cash Value of the damage

   to the roof coverings ($196,155.39), for a total amount of $8,753,594.61, consistent with

   the Verdict Form [D.E. #202].

          14.       However, in the Response, Plaintiffs incorrectly dispute the fact that

   Defendant is entitled to have the Court reduce the final judgment by the amount of the

   Policy deductible, and incorrectly claim entitlement to prejudgment interest. See [D.E.

   #229], p. 3-4.

          15.       With regard to the deductible, Defendant would show that interpretation of

   an insurance contract is a matter of law. See e.g., LaFarge Corp. v. Travelers Indem. Co.,

   118 F. 3d 1511, 1515 (11th Cir. 1997). Thus, determination of the correct amount of a

   deductible imposed by a contract is a matter of law for the Court. Beverly Hills

   Condominium 1-12, Inc. v. Aspen Specialty Ins. Co., 2007 WL 1183939 (S.D. Fla.

   2007)(determining amount of applicable deductible as a matter of law). Once determined,

   a Court can apply the deductible to a jury's verdict, reducing the verdict by the amount of

   the deductible, when rendering the final judgment. See Chalfonte Condominium



                                                 5
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 6 of 8
                                                                   CASE NO. 1:18-cv-23576-KMW


   Apartment Assoc. v. QBE Ins. Co., 561 F. 3d 1267, 1270 (S.D. Fla. 2009)(certifying to

   Florida Supreme Court the question of whether insurer's failure to comply with §627.701

   deductible language and type-size requirement rendered deductible void, without

   questioning the district court's procedure of post-judgment reduction of award by the

   amount of the deductible in question); Employers Ins. of Wausau v. Heritage Title, 557

   So. 2d 246, 246 (Fla. 1st DCA 1990)(remanding for trial court to amend final judgment by

   applying deductible to reduce award).

          16.     With regard to prejudgment interest, Defendant would show that

   prejudgment interest should not be awarded pursuant to §627.70131(5)(a), as it is well-

   established that surplus line insurance carriers such as Rockhill Insurance Company are

   not governed by the requirements of Chapter 627, Florida Statutes 2. See §626.913(4),

   Florida Statutes; Mt. Hawley Ins. Co. v. One River Plaza Co., 2014 WL 11721638, at *2

   (S.D. Fla. 2014); ABC Univ. Shops, LLC v. Scottsdale Ins. Co., 2018 WL 3672265 *4-5

   (S.D. Fla. 2018)(report and recommendation adopted, 2018 WL 4409851 (S.D. Fla.

   2018), with Font & Nelson, P.A. as counsel for Plaintiff) [emphasis supplied].

   IV.    THE (PRESUMABLY) OVERLOOKED SUPPLEMENTAL BRIEF

          17.     Next, although Plaintiffs concede the feasibility of Defendant’s argument

   that the Court failed to consider Defendant’s Supplementary Brief in Support of its Motions

   for Judgment as a Matter of Law (the “Supplementary Brief”) [D.E. #207], they then

   proceed to argue that Rule 60(a) does not allows the Court to “reconsider substantive



   2
     For this same reason, the Court should disregard Plaintiffs’ citation of §627.701(2)(b), Florida
   Statutes for their argument that “the burden of course rested upon the Defendant to motion for
   relief accordingly, including its right to seek a reduction per a clear and unambiguous deductible.”
   See [D.E. #229], p. 4.
   ;


                                                    6
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 7 of 8
                                                             CASE NO. 1:18-cv-23576-KMW


   arguments”. See [D.E. #229], p. 4-5. However, this argument makes absolutely no sense

   because Defendant is not, and could not possibly be, asking the Court to reconsider

   substantive arguments (vis a vis the Supplemental Brief) which Defendant submits that

   the Court never considered in the first place.

          18.    In fact, reconsideration is warranted where the Court overlooks arguments

   advanced by the moving party. See J.P.M. v. Palm Beach County School Board, 2013

   WL 12380457 *3 (S.D. Fla. 2013)(reconsideration granted where court admittedly

   overlooked one of defendant’s arguments); In re Waczewski, 2006 WL 1594141, *4 (M.D.

   Fla. 2006)( a motion for reconsideration properly addresses factual and legal matters that

   the Court may have overlooked).

          19.    The court has considerable discretion to reconsider an order. Johnston v.

   Tampa Sports Authority, 442 F.Supp.2d 1257, 1261 (M.D.Fla.2006)(citing O'Neal v.

   Kennamer, 958 F.2d 1044, 1047 (11th Cir.1992)), and abuses its discretion if it overlooks

   a relevant factor that deserves significant weight. Sussman v. Salem, Saxon & Nielsen,

   P.A., 153 F.R.D. 689, 694 (M.D.Fla.1994).

   V.     CONCLUSION

          20.    In light of the foregoing and for the reasons articulated in the Motion for

   Reconsideration, Defendant respectfully submits that the Court should rehear and/or

   reconsider the Order.

          WHEREFORE,          Defendant/Counter-Plaintiff,     ROCKHILL        INSURANCE

   COMPANY, respectfully requests that the Court enter an Order granting its Motion for

   Rehearing and/or Reconsideration of this Court’s February 12, 2020 Order [D.E. #222]




                                                7
Case 1:18-cv-23576-KMW Document 230 Entered on FLSD Docket 03/16/2020 Page 8 of 8
                                                                   CASE NO. 1:18-cv-23576-KMW


   Denying its Motion for Judgment as a Matter of Law. [D.E. #186] and awarding any and

   all further relief that it deems just and proper under the circumstances.

                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 16, 2020, I electronically filed the foregoing

   document with the clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served via email this day to: Font & Nelson, PLLC, 200 S. Andrews

   Avenue,     Suite    501,   Fort     Lauderdale,   Florida   33301     (jfont@fontnelson.com;

   afriedman@fontnelson.com;            bfischer@fontnelson.com;        fnelson@fontnelson.com;

   gvega@fontnelson.com;               jproffitt@fontnelson.com;         jwilds@fontnelson.com;

   nkronen@fontnelson.com;            pleadings@fontnelson.com); either via transmission of

   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

   for those counsel or parties who are not authorized to receive electronically Notices of

   Electronic filing.


                                               LEVY LAW GROUP
                                                /s/Lauren D. Levy, Esq.
                                               LAUREN D. LEVY, ESQ.
                                               Florida Bar No.: 0116490
                                               lauren@levylawgroup.com
                                               PAULA LEVY PARKES, ESQ.
                                               Florida Bar No.: 0117031
                                               paula@levylawgroup.com
                                               3399 Ponce de Leon Blvd., Suite 202
                                               Coral Gables, Florida 33134
                                               Telephone: (305) 444-1500
                                               Facsimile: (305) 503-9295
                                               Attorneys for Defendant/Counter-Plaintiff,
                                               Rockhill Insurance Company




                                                  8
